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                             IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON


GOLDEN TEMPLE OF OREGON, LLC,                        Case No. 3:09-CV-902-HZ
an Oregon limited liability company,
                Plaintiff,                           DEFENDANT WAI LANA
                                                     PRODUCTIONS, LLC’S
        v.                                           MEMORANDUM OF POINTS AND
                                                     AUTHORITIES IN SUPPORT OF
WAI LANA PRODUCTIONS, LLC,                           MOTION FOR SUMMARY JUDGMENT
a California limited liability company,              TO CANCEL TRADEMARK
                                                     REGISTRATION NOS. 1980514, 3435101,
                Defendant.                           AND 3607292




             DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION
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WAI LANA PRODUCTIONS, LLC,
a California limited liability company,

       Cross-claim/Interpleader-Plaintiff,

       v.

BIBIJI INDERJIT KAUR PURI,
an individual,

       Cross-claim/Interpleader-Defendant.


BIBIJI INDERJIT KAUR PURI, an
individual,

       Counterclaim Plaintiff

       v.

WAI LANA PRODUCTIONS, LLC,
a California limited liability company,

       Counterclaim Defendant.


BIBIJI INDERJIT KAUR PURI, an
individual,

       Cross-claim Plaintiff

       v.

GOLDEN TEMPLE OF OREGON, LLC,
an Oregon limited liability company,

       Cross-claim Defendant


WAI LANA PRODUCTIONS, LLC,
a California limited liability company,

       Counterclaim/Interpleader-Plaintiff,

       v.

GOLDEN TEMPLE OF OREGON, LLC,
an Oregon limited liability company,

       Counterclaim/Interpleader-Defendant,


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 I.        INTRODUCTION
           Counterclaim-Defendant Wai Lana Productions, LLC (“Wai Lana”) respectfully submits

 that there is no genuine issue of material fact with respect to Wai Lana’s Second Counterclaim

 against Counterclaim-Plaintiff Bibiji Inderjit Kaur Puri (“Bibiji”) for Cancellation of U.S.

 Trademark Registration Nos. 1,980,514, 3,435,101, and 3,607,292 (referred to herein

 collectively as “the YOGI TEA Registrations”). Wai Lana therefore is entitled to summary

 judgment on this claim.

           Bibiji has accused Wai Lana of infringing the “YOGI TEA” trademark. See Dkt. No. 67.

 In binding arbitration between Bibiji and Plaintiff Golden Temple of Oregon LLC (“GTO”), an

 Arbitration Panel found that Bibiji owned at least a 50% interest in the “YOGI TEA” trademark,

 and ordered GTO to assign the corresponding trademark registrations to Bibiji (i.e., the YOGI

 TEA Registrations).

           However, the YOGI TEA Registrations are void ab initio because GTO did not own the

 marks and had no right to register the marks in its own name as required by the Lanham Act.

 The subsequent constructive trust and order to assign the YOGI TEA Registrations to Bibiji

 imposed by the Arbitration Panel does not cure this statutory defect.

           There is no dispute that the YOGI TEA Registrations were not filed or prosecuted by the

 true owner of the registered mark, and those registrations must be cancelled as a matter of law.

 II.       BACKGROUND

           A.      Yogi Bhajan and “Yogi Tea”
           Bibiji is the widow of Yogi Bhajan, a well-known spiritual leader of Kundalini Yoga and

 Sikhism in the United States. (Dkt. No. 67 at ¶ 9). Beginning around 1969, Yogi Bhajan began

 serving his students a tea that they named “Yogi Tea.” (Id. at ¶ 14). Years later, Yogi Bhajan


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 entered into license agreements with GTO and its predecessors in interest concerning “Yogi

 Tea.” (Id. at ¶ 16). Yogi Bhajan later transferred the “Yogi Tea” trademark and other

 intellectual property of Yogi Bhajan to a Living Trust administered by Yogi Bhajan and his wife

 Bibiji. (Id. at ¶ 21). Upon Yogi Bhajan’s death, the Living Trust was terminated, and, under its

 terms, Bibiji received a fifty percent (50%) interest in and to the trust assets, including the “Yogi

 Tea” trademarks. (Id.)

           B.      GTO and the “Yogi Tea” Registrations
           Plaintiff GTO or its predecessor, Golden Temple Tea Company dba The Yogi Tea

 Company, filed several trademark applications to register the YOGI TEA marks. For each

 application, GTO or its predecessor declared to U.S. Patent and Trademark Office (“USPTO”)

 that no other person has the right to use the associated YOGI TEA mark. See, e.g., Exh. D. A

 trademark registration would not have issued but for this declaration filed with the application.

 Those applications were later issued by the USPTO as U.S. Registration Nos. 1980514, 3435101,

 and 3607292 (i.e., the YOGI TEA Registrations).1 Exhs. A–C.

           C.      Bibiji Initiates Arbitration Against GTO
           GTO licensed the use of Yogi Bhajan’s name and likeness (collectively referred to as the

 “Licensed Marks”) from Yogi Bhajan, but terminated its license in 2008. (Dkt. 67 at ¶ 19). As

 Yogi Bhajan’s heir, Bibiji initiated an arbitration against GTO in 2010, alleging that she was the

 true owner of the YOGI TEA marks, and that the YOGI TEA marks were among the Licensed

 Marks to which GTO had no ownership rights. Exh. E (Bibiji’s Statement of Claim for

 Arbitration). Cancellation of the YOGI TEA Registrations was among the various remedies she

           1
           GTO filed the applications for Registration Nos. 3435101, and 3607292; and GTO's
 predecessor, Golden Temple Tea Company dba The Yogi Tea Company, filed the application for
 Registration No. 1980514.

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 sought. Id. at ¶¶ 73–78. Bibiji sought to cancel the YOGI TEA Registrations because GTO or

 its predecessor had falsely claimed under oath that no other person has a senior right to the

 YOGI TEA marks “in connection with those trademark applications.” Id. at ¶ 76.

           GTO argued that the YOGI TEA marks were not part of the Licensed Marks. The

 Arbitration Panel, however, determined that the YOGI TEA marks were part of the Licensed

 Marks and were owned at least in part by Bibiji.

           D.      Arbitration Finding That GTO Had No Right To Register
           On July 29, 2011, the Arbitration Panel found in favor of Bibiji, and held that GTO was

 not the owner of the “YOGI TEA” marks. Exh. F at 12 (Findings of Fact and Notice of Award).

 In particular,

                          The Panel also received evidence that use of YOGI TEA . . .
                   GTO and its predecessors, . . . was with the permission of Yogi
                   Bhajan. Sada Sat Singh testified that a Golden Temple restaurant in
                   Massachusetts began selling YOGI TEA commercially with the
                   permissions of Yogi Bhajan and later sold the tea business to a tea
                   shop in Maryland. Only after the tea shop ceased commercial sales
                   of YOGI TEA was the way clear for [GTO’s predecessor] Golden
                   Temple Tea Company to sell YOGI TEA commercially. This
                   testimony suggests that one of the founders of Golden Temple Tea
                   Company recognized that Yogi Bhajan had the right to control use
                   of YOGI TEA. The two other founders of Golden Temple Tea
                   Company testified for Claimant [Bibiji] that the company’s use of
                   YOGI TEA was with Yogi Bhajan’s permission.
                                                     ****
                           On the basis of the information above, the Panel concludes
                   that substantially all of the use of YOGI TEA by the Golden Temple
                   restaurants, and by GTO and its predecessors, was with the express
                   or implied permission of Yogi Bhajan, and that Yogi Bhajan’s heirs
                   own the trademark YOGI TEA.
 Id. at 9-10.




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           On November 10, 2011, the Arbitration Panel issued an Arbitration Award that held as

 follows:

                          G.     DETERMINATION THAT RESPONDENT HAS
                                 NO RIGHT TO REGISTER
                          We find in favor of Claimant and against Respondent.
                  Respondent GTO and/or its predecessors applied for and/or obtained
                  federal registrations for the following YOGI and YOGI TEA marks:
                          U.S. Trademark Registrations:
                                 -        No. 1980514 for YOGI TEA;
                                 -        No. 3435101 for YOGI TEA and Design;
                                 -        No. 3607292 for YOGI
                          U.S. Trademark Applications:
                                 -        Serial No. 77636305 for YOGI
                                 -        Serial No. 7788990 for YOGI
                  in their capacity as licensees of Yogi Bhajan or the Harbhajan Singh
                  Khalsa Yogiji and Inderjit Kaur Puri Living Trust, even though
                  GTO and/or its predecessors had no right to register such marks
                  in their names, GTO has no rights in the marks in dispute, namely,
                  YOGI TEA, YOGI, or any other “Yogi” marks referred to in the
                  Findings. GTO therefore has no right to register any of these marks
                  or any marks confusingly similar to them.
 Exh. G at 4-5 (Arbitration Award) (emphasis added).

           The Arbitration Panel made “no findings specific” to Bibiji’s request for cancellation of

 the YOGI TEA Registrations under 15 U.S.C. § 1119. Exh. G at 5.

           The Panel also found that the YOGI TEA Registrations were being held by GTO in a

 constructive trust for the benefit of Bibiji, and ordered GTO to assign the YOGI TEA

 Registrations to Bibiji. Exh. G at 3.




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 III.      THE YOGI TEA REGISTRATIONS MUST BE CANCELLED AS A MATTER OF
           LAW
           A.      Legal Standards
                   1.     Summary Judgment
           Federal Rule of Civil Procedure 56 provides that summary judgment shall be rendered

 forthwith if the pleadings, depositions, answers to interrogatories, and admissions on file,

 together with the affidavits, if any, show that there is no genuine issue as to any material fact

 with respect to a claim or defense, and that the moving party is entitled to judgment as a matter

 of law. In order to prevail, a party moving for summary judgment must show the absence of a

 genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The burden

 then shifts to the party opposing summary judgment to establish “specific facts showing there is

 a genuine issue for trial.” Id. On summary judgment, all reasonable inferences are drawn in

 favor of the non-moving party. Id.
                   2.     Cancellation Of A Trademark Registration
           By statute, only the owner of a trademark can apply for federal registration of that mark.

 15 U.S.C. § 1051(a); Huang v. Tzu Wei Chen Food Co. Ltd., 849 F.2d 1458, 1459 (Fed. Cir.

 1988); see also T.M.E.P. § 1201 (“An application that is not filed by the owner is void.”) (copy

 attached as Exh. H). “This statutory ownership requirement cannot be waived.” Great Seats,

 Ltd. v. Great Seats, Inc., 84 U.S.P.Q.2d (BNA) 1235, 1239, 2007 WL 1740870, at * 5 (T.T.A.B.

 June 14, 2007). Thus, a trademark registration is void and must be cancelled if the applicant was

 not the owner. Huang, 849 F.2d at 1459; Marshak v. Reed, No. 96-2292, 2001 WL 799571, at

 *3 (E.D.N.Y. Jul. 11, 2001).2

 2
   The district court in Marshak ordered cancellation of the trademark registration because the registrant
 did not own the mark, but this decision was later vacated by the Second Circuit so that the district court
 could consider whether an intervening decision by the Ninth Circuit in a related case, Five Platters, Inc. v.
 Monroe Powell, 7 Fed. Appx. 794 (9th Cir. 2001), affected the ownership issue. Marshak v. Reed, 34
 Fed. Appx. 8, 10 (2d Cir. 2002). On remand, the district court considered the intervening decision, found
 it did not alter the court's prior determination, and reinstated its earlier order to cancel the trademark
 registration. Marshak v. Reed, 229 F. Supp. 2d 179, 185 (E.D.N.Y. 2002) aff'd, 87 Fed. Appx. 208 (2d
 Cir. 2004).

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           The facts of Huang are instructive. In Huang, an individual applied for incorporation in

 the state of Iowa and subsequently filed an application for registration of a trademark for

 prepared pork and meat products. Id., 849 F.2d at 1459. Between the time of execution of the

 trademark application by the individual and the filing date of the application with the USPTO,

 the application for incorporation was approved, and ownership of the mark was transferred from

 the individual to the newly-formed corporation in accordance with the terms of incorporation.

 Id. The Trademark Trial and Appeal Board (“TTAB”) held that the trademark application was

 void ab initio because the individual, who was the applicant, was not the owner of the mark on

 the filing date. Id.

           On appeal, the corporation argued that it was unreasonable to require that the application

 be filed in the name of the actual owner when there is no dispute as to ownership. Huang, 849

 F.2d at 1460. But the Court of Appeals for the Federal Circuit affirmed the Board’s holding that

 the application for registration was void on the basis that “[t]he application had been examined,

 deemed registrable, and published for opposition, all in the name of an applicant who was not the

 owner of the trademark at the filing or at any time during pendency of the application.” Id.

 (citing Holiday Inn v. Holiday Inns, Inc., 534 F.2d 312, 319, n.6 (C.C.P.A. 1976) (“One must be

 the owner of a mark before it can be registered.”)); see also Younghusband v. Coe, 32 F. Supp.

 869 (D.D.C. 1940) (“To entitle him to the registration he must have been the owner at the time
 his application was filed.”).
                  3.      Standing To Cancel A Trademark Registration
           One “who believes that he is or will be damaged . . . by the registration of a mark” may

 seek to cancel the registration under 15 U.S.C. § 1064 or § 1119. To have standing to obtain

 cancellation of the registration, the petitioning party need only have a “real interest” in

 cancellation. Int’l Order of Job's Daughters v. Lindeburg & Co., 727 F.2d 1087, 1092 (Fed. Cir.

 1984); Lipton Industries, Inc. v. Ralston Purina Co., 670 F.2d 1024, 1030 (C.C.P.A. 1982)

 (noting that the public interest is served by “broadly interpreting the class of persons Congress


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 intended to be allowed to institute cancellation proceedings”). A direct commercial interest

 satisfies the “real interest” test. Herbko Int’l Inc. v. Kappa Books Inc., 308 F.3d 1156, 1161

 (Fed. Cir. 2002) (citing Cunningham v. Laser Golf Corp., 222 F.3d 943, 945 (Fed. Cir. 2000)).
           B.      Bibiji Allegation Of Trademark Infringement Against Wai Lana
           As previously discussed, the Arbitration Panel ordered that the YOGI TEA Registrations

 be held in a constructive trust by GTO for the benefit of Bibiji, and ordered GTO to assign the

 YOGI TEA Registrations to Bibiji. See Exh. G at 4.

           Bibiji is claiming damages from Wai Lana for its use of the YOGI CHIPS mark because

 of alleged federal statutory trademark infringement (Dkt. No. 67 at ¶¶ 24–28), which is based on

 the YOGI TEA Registrations. See 15 U.S.C. § 1114. There is a separate trademark registration

 (U.S. Registration No. 3600114) for the YOGI CHIPS mark, and Wai Lana has sold and

 continues to sell goods under that mark. Exh. J.

           Wai Lana thus has a direct financial and commercial interest in its past, present, and

 future use of the YOGI CHIPS mark in view of the YOGI TEA Registrations. Wai Lana has

 standing to challenge the validity of those trademark registrations. Herbko, 308 F.3d at 1161;

 Job's Daughters, 727 F.2d at 1092.
           C.      Registrations That Were Applied For By Someone Other Than The Owner
                   Of The Marks Must Be Cancelled As A Matter Of Law
           Bibiji herself had sought cancellation of the YOGI TEA registrations in the arbitration

 against GTO over the ownership of the YOGI TEA marks. Exh. E at ¶¶ 76–78 (Bibiji alleged

 that GTO “owned no rights” to the YOGI TEA marks, had claimed “under oath that no other

 person has a senior right to the Licensed Marks in connection with those trademark applications,

 when it was fully aware that it owned no rights”).

           The Arbitration Panel agreed with Bibiji that GTO did not own the YOGI TEA marks,

 finding that the founders of GTO’s predecessor had recognized that the company’s use of YOGI

 TEA was with Yogi Bhajan’s permission, and that GTO and its predecessor had no right to


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 register the YOGI TEA Registrations.3 Exh. F at 9-12, and Exh. G at 4-5. Bibiji would have no

 cause of action against Wai Lana, if this were not the case.4 The Arbitration Panel, however,

 made “no findings specific” to Bibiji’s request for cancellation. Exh. G at 5.

           Under 15 U.S.C. § 1051(a), only the owner of a trademark can apply for federal

 registration of that mark. But the YOGI TEA Registrations were not applied for by the owner,

 and thus fail this statutory requirement.

           The only dispute here is whether, as a matter of law, this fundamental statutory defect in

 the YOGI TEA Registrations can be corrected by a constructive trust or subsequent assignment

 of the registrations.

           The law is clear—an application that is not filed by the owner is void, and the resulting

 registration must be cancelled. See Huang, 849 F.2d at 1460 (holding that a trademark

 application was “void for failure to comply with Section 1 of the Lanham Act” when filed in the

 name of an individual affiliated with a corporation and not in the name of the corporation itself,

 which was the owner of the mark at the time of filing); Marshak, 2001 WL 799571, at *3; Great

 Seats, 84 U.S.P.Q.2d at 1239, 2007 WL 1740870, at * 5 (“This statutory ownership requirement

 cannot be waived.”); see also T.M.E.P. § 803.06 (“A void application cannot be cured by

 amendment or assignment.”) (copy attached as Exh. I).

           Because there is no dispute that GTO did not own the marks when the applications for the
 YOGI TEA Registrations were filed with the USPTO, the YOGI TEA Registrations are void and

 must be cancelled as a matter of law.




           3
          This also establishes that Registration No. 1980514 was obtained fraudulently by GTO's
 predecessor, Golden Temple Tea Company dba The Yogi Tea Company.
           4
           As a party to the arbitration, Bibiji is bound by the Arbitration Panel's findings as collateral
 estoppel or issue preclusion, which bars the relitigation of previously adjudicated issues. C.D. Anderson
 & Co., Inc. v. Lemos, 832 F.2d 1097, 1100 (9th Cir. 1987) (an arbitration decision can have collateral
 estoppel effect); see also Greenblatt v. Drexel Burnham Lambert, Inc., 763 F.2d 1352, 1360 (11th Cir.
 1985).

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 IV.       CONCLUSION
           Bibiji asserts that Wai Lana has infringed the YOGI TEA marks, but the applications for

 the YOGI TEA Registrations were filed by GTO who Bibiji has established was not the owner of

 those marks. Because the applications for the YOGI TEA Registrations were filed by someone

 other than the owner of the trademarks, those registrations must be cancelled because this

 statutory defect cannot be cured by a constructive trust or subsequent assignment to Bibiji. For

 these reasons, and for the reasons stated above, Wai Lana respectfully requests that this Court

 grant summary judgment in Wai Lana’s favor on its Second Counterclaim and order the USPTO

 to cancel the YOGI TEA Registrations.
           DATED this 5th day of December, 2011.

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